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 6
                                     UNITED STATES DISTRICT COURT
 7                                    FOR THE DISTRICT OF IDAHO

 8 JAMES LEIGHTY,
 9                      Plaintiff,                       Case No. 2:23-cv-0063-DCN
            v.
10                                                       STIPULATED MOTION TO EXTEND
     SHERIFF DARYL WHEELER, and                          THE DISCOVERY CUTOFF DEADLINE
11   individual; BONNER COUNTY, a municipal
     corporation; BONNER COUNTY SHERIFF’S
12   OFFICE, a subdivision of a municipal
     corporation,
13                      Defendants.

14                                             I.     MOTION

15          COME NOW the parties by and through their respective counsel, and hereby move the

16 Court for an Order granting the Parties’ FIRST Motion to Extend Discovery Deadline.
17          THIS MOTION is based upon the files and records herein and upon the Memorandum in

18 support thereof filed herein.
19                                       II.        MEMORANDUM

20          The current Case Scheduling Order sets a date for all discovery to be completed on January

21 22, 2024. ECF. No. 35.
22

      STIPULATED MOTION TO EXTEND THE DISCOVERY CUTOFF DEADLINE -1
              Case 2:23-cv-00063-DCN Document 38 Filed 01/19/24 Page 2 of 4




 1          Defendants requested the deposition of Mr. Leighty. The parties have arrived at a date of

 2 February 5, 2024, for Mr. Leighty’s deposition which is after the discovery deadline of January
 3 22, 2024. A settlement conference has also been scheduled for February 21, 2024. Defendants
 4 request an extension until three weeks after Mr. Leighty’s deposition is completed for Discovery
 5 to be finished by February 26, 2024, to allow for any additional items that may need to be produced

 6 by either party following his testimony. This further allows adequate time for Defendants to obtain
 7 a copy of the deposition transcript before finishing the discovery.
 8                                         III. CONCLUSION

 9          For the reasons stated above the Parties respectfully request this Motion to Extend

     Discovery Deadline be issued to reflect extension by 27 days as set forth above.
10
            Dated this 19th day of January, 2024.
11
12                                                  EVANS, CRAVEN & LACKIE, PS

                                                    By:    s/ Heather C. Yakely
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      STIPULATED MOTION TO EXTEND THE DISCOVERY CUTOFF DEADLINE -2
            Case 2:23-cv-00063-DCN Document 38 Filed 01/19/24 Page 3 of 4




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     STIPULATED MOTION TO EXTEND THE DISCOVERY CUTOFF DEADLINE -3
              Case 2:23-cv-00063-DCN Document 38 Filed 01/19/24 Page 4 of 4




 1                                   CERTIFICATE OF SERVICE

 2          I hereby certify that on January 19, 2024, I caused the following to be electronically filed
     with the Clerk of the Court using CM/ECF System which will send notification of such filing to
 3
     the following:
 4
 5          Counsel for Plaintiffs
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 6          Joseph R. Shaeffer
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14
                                                  EVANS, CRAVEN & LACKIE, PS
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      STIPULATED MOTION TO EXTEND THE DISCOVERY CUTOFF DEADLINE -4
